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ROBINSON BROG LEINWAND GREENE
GENOVESE & GLUCK P.C.
875 Third Avenue
New York, New York 10022
Fred B. Ringel
Clement Yee
Proposed Attorneys for the Debtor and Debtor in
Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                          Chapter 11

286 RIDER AVE ACQUISITION LLC,                                  Case No: 21-11298-lgb

                                       Debtor.
----------------------------------------------------------X
                                       CERTIFICATE OF SERVICE
NATHANAEL F. MEYERS, hereby certifies under penalty of perjury:
          1. I am not a party to the action, am over 18 years of age and reside in Hamilton, New
Jersey.
          2. On the 16th day of July, 2021, I caused to be served true and correct copies of Order
Granting 286 Rider Ave Acquisition LLC’s Ex Parte Motion For Entry Of An Order Pursuant To
Bankruptcy Rule 2004 Authorizing Discovery Examinations Of (i) Toby Moskovits And (ii)
Michael Lichtenstein [Doc. No. 5] (the “Order”) via Federal Express Overnight Delivery upon:
Toby Moskovits                                            Michael Lichtenstein
286 Rider Ave Development LLC                             286 Rider Ave Development LLC
679 Driggs Avenue                                         679 Driggs Avenue
Brooklyn, New York 11211                                  Brooklyn, New York 11211

by depositing true copies of same enclosed in pre-paid, properly addressed wrappers in an
official depository under the exclusive care and custody of Federal Express Corporation within
the State of New York.
          3. On the 16th day of July, 2021, I caused to be served a true and correct copy of the




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Order by email upon greg.zipes@usdoj.gov.
Dated: July 16, 2021
                                                 /s/ Nathanael F. Meyers
                                                 Nathanael F. Meyers




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SERVICE LIST AS OF 12/29/20

CON EDISON
BANKRUPTCY GROUP
4 IRVING PLACE, ROOM 1875-S
NEW YORK, NY 10003

NATIONAL GRID
PO BOX 11741
NEWARK, NJ 07101-4741

DUETTO RESEARCH INC.
2001 GATEWAY PLACE
#520W
SAN JOSE, CA 95110

DURA-LIFT INC.
201 HARTLE STREET
SUITE B
SAYREVILLE, NJ 08872

ENERCON TECHNICAL SERVICE
1233 MCDONALD AVENUE
BROOKLYN, NY 11230

GREATER SHIELD
P.O. BOX 110836
BROOKLYN, NY 11211

GREEN & WHITE BOUTIQUE LINEN
410 GARIBALDI AVENUE
LODI, NJ 07644

HOUSE OF KOOSER
P.O. BOX 3184
NEW YORK, NY 10163

NYC DEPT. OF FINANCE
345 ADAMS STREET, 3RD FL.
ATTN: LEGAL AFFAIRS
BROOKLYN NY 11201-0000

CORP. COUNSEL FOR NYC
100 CHURCH STREET
NEW YORK, NY 10007




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NYS SALES TAX PROCESSING
P.O. BOX 15168
ALBANY, NY 12212

ORACLE AMERICA, INC.
P.O. BOX 203448
DALLAS, TX 75320

RIGHTWAY RESTORATION LLC
98 BEARD ST.
BROOKLYN, NY 11231

SIMON'S INDUSTRIAL SUPPLY
45-02 37TH AVENUE
LONG ISLAND CITY, NY 11101

TRAVELCLICK INC.
P.O. BOX 71199
CHICAGO, IL 60694

CON EDISON
P.O. BOX 1701
NEW YORK, NY 10116

WILLIAM K. HARRINGTON, UNITED STATES TRUSTEE
U.S. DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
201 VARICK STREET, ROOM 1006
NEW YORK, NY 10014
(ATTN.: ANDREA B. SCHWARTZ, ESQ.)




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